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   AFFIDAVIT OF SERVICE
   I, the undersigned, am an attorney admitted to practice law in the State of New York and in
   the U.S. District Courts for the Southern and Eastern Districts of New York. I hereby certify
   that on the date indicated below a copy of the document(s) shown below was served on the
   person(s) shown below by depositing a true copy of same, enclosed in a first class postage
   paid envelope, in an official depository under the exclusive care and custody of the United
   States Postal Service within New York State.

   CASE: Carole Richards
         Bankruptcy case no.       17-12378-CGM
         Adversary case no.        18-01647-CGM

   DATE DOCUMENT(S) SERVED:                 October 1, 2018

   DOCUMENT(S) SERVED: Complaint.

   DOCUMENT(S) SERVED UPON: See below.

   Date: October 1, 2018
         New York, New York

   /s/ M. Bradford Randolph
   ______________________________
   M. Bradford Randolph, Esq.
   Attorney for the debtor

   M. Bradford Randolph, Esq., PLLC
   45 Rockefeller Plaza, FL 20
   New York, New York 10111

   Telephone: (212) 759-0097
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   Copy to:

   Chief Judge Cecelia G. Morris
   U.S. Bankruptcy Court
   Southern District of New York
   355 Main Street
   Poughkeepsie, NY 12601-3315

   Krista M. Preuss
   Chapter 13 Standing Trustee
   399 Knollwood Road, STE 102
   White Plains, NY 10603
   United States Trustee

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   Office of the United States Trustee
   U.S. Federal Office Building
   201 Varick Street, Room 1006
   New York, NY 10014




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